 Case 2:17-cv-11408-AC-APP ECF No. 16 filed 04/30/18        PageID.61   Page 1 of 1




                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

MICHELLE SATTERWHITE,                   )
                                        )
Plaintiff                               )
                                        ) Case No.: 2:17-cv-11408-AC-APP
       v.                               )
                                        )
BLUESTEM BRANDS, INC. d/b/a             )
FINGERHUT,                              )
                                        )
Defendant                               )

                   ORDER OF DISMISSAL WITH PREJUDICE

       Based on the stipulation of the parties, Plaintiff, Michelle Satterwhite and

Defendant, Bluestem Brands, Inc., filed herein pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii),

       IT IS HEREBY ORDERED ADJUDGED AND DECREED that the above-

entitled action is dismissed with prejudice with each party to bear its own costs and

attorneys’ fees.

Dated: 4/30/2018



                                             s/Avern Cohn
                                             U.S. District Judge
